      EXHIBIT B
(Proposed Interim Order)
                                 UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MASSACHUSETTS


In re:
TOP LINE GRANITE DESIGN INC.                                   Case No. 22-40216 (CJP)

                                                               Chapter 11
                                      Debtor.

                ORDER AUTHORIZING INTERIM USE OF CASH COLLATERAL

           Upon consideration of the Debtor’s Motion for Interim and Final Orders (A) Authorizing

Use of Cash Collateral, (B) Granting Post-petition Replacement Liens as Adequate Protection,

and (D) Scheduling a Final Hearing filed with this Court on March 30, 2022 (the “Motion”)' by

Top Line Granite Design Inc. (the “Debtor”); notice of the Motion being good and sufficient

notice under the circumstances; the Court having held an emergency hearing on April

            2022 relating to the Motion; after due deliberation and sufficient cause appearing:

           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
           1.       The Motion is granted on an interim basis subject to the terms and conditions set

forth in this interim order.

           2.       The Debtor is authorized to use its Cash Collateral substantially in accordance

with the Budget.

           3.       The Debtor is authorized to use Cash Collateral to pay all expenses incurred by

the Debtor in the operation of its ongoing business post-petition (or if incurred pre-petition, those

expenditures authorized by a specific Order of this Court) pending the final hearing on the

Motion.


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    Capitalized terms used herein and not otherwise defined shall have the meanings set forth in the Motion.
       4.      The Lienholders are hereby granted post-petition replacement liens and security

interests in property of the Debtor’s estate, as set forth in the Motion, in an amount equivalent to

the amount of Cash Collateral expended by the Debtor, of the same type, in the same nature and

to the same extent as the Lienholders had in such assets pre-petition to the extent the Lienholders

held validly perfected liens and security interests as of the Petition Date (“Post-petition Liens”).

       5.      The Post-petition Liens shall be recognized only to the extent of diminution in the

value of the Lienholders’ prepetition collateral constituting Cash Collateral resulting from the

Debtor’s use thereof in the operation of the Debtor’s business in the Post-petition Period.

       6.      The Post-petition Liens shall maintain the same priority, validity, and

enforceability as the Lienholders’ liens on their pre-petition collateral.

       7.      This interim order shall be sufficient and conclusive evidence of the validity.

perfection, and priority of the Post-petition Liens without the necessity of filing or recording any

financial statement or other instrument or document which may otherwise be required under the

law or regulation of any jurisdiction to validate or perfect (in accordance with applicable non­

bankruptcy law) the Post-petition Liens.

        8.     The Post-petition Liens shall not attach to any avoidance powers held by the

Debtor or any trustee for the Debtor, including those avoidance powers set forth in sections 544,

545, 547, 548, 549, 550, 551, and 553 of the Bankruptcy Code, or to the proceeds of any claims

under or actions commenced pursuant to such powers.

        9.     As further adequate protection, to the extent funds are available, the Debtor is

authorized to make monthly adequate protection payments to the Lienholders as set forth in the

Motion and in the Budget.




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        10.    Nothing in this Order shall be construed to permit a carveout for payment of fees

of the Debtor’s counsel and the Subchapter V trustee, or to surcharge Avidia Bank’s collateral

pursuant to Section 506(c) of the Bankruptcy Code without further order of the Bankruptcy

Court. Moreover, nothing herein constitutes a waiver of any rights or remedies of a creditor or

party in interest to object to the Motion in connection with any further hearing or with respect to

any further request by the Debtor to use cash collateral.

        11.    After entry of any final order authorizing this Motion, on a monthly basis, the

Debtor shall file with this Court a reconciliation statement showing estimated amounts as

described in the Budget versus actual monthly revenue and expenses.

        12.     Nothing in this Order shall constitute a waiver by or restrict the Debtor’s right to

seek further use of Cash Collateral or to seek authority to use Cash Collateral other than on the

terms and conditions set forth herein.

        13.     This Order shall be without prejudice to the rights of the Debtor and other parties

in interest to challenge the validity or perfection of secured creditors’ asserted security interests.

including the pre-petition liens of any creditor under a Cash Advance Agreement, on any

grounds whatsoever. The Post-petition Liens granted pursuant to this Order may be revoked or

reduced to the extent that any such challenge or objection is successful.

        14.     The final hearing on the Motion is hereby scheduled for                      2022 at

  :____ .m. Any party in interest objecting to the relief requested in the Motion on a final basis

shall file a written objection with the Clerk of the Court (and serve such objection on counsel to

the Debtor) no later than 4:00 p.m. (Eastern Time) on                                  , 2022.

        15.     The Debtor shall serve, by United States mail, first-class postage prepaid, Email,

or other appropriate method of service, notice of the entry of the interim order and of the final




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hearing on; (a) the parties having been given notice of the Motion, and (b) any party which has

filed prior to such date a request for notices with this Court.

        16.    Notwithstanding the possible applicability of Bankruptcy Rules 6004 and 7062 or

otherwise, the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry by the Court.

SO ORDERED by the Court this                    day of April, 2022.




                                               Honorable Christopher J. Panos
                                               UNITED STATES BANKRUPTCY JUDGE


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